     Case 3:07-cr-00438-REP Document 97 Filed 01/31/08 Page 1 of 1 PageID# 218


                                                                                        1       L      E
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA                                      3>f
                                   RICHMOND DIVISION
                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                            RICHMOND, VA


UNITED STATES OF AMERICA


v.                                                         CASE NO. 3:07CR438


CRAIG ANTHONY FORDHAM,
a/k/a "CJ,"


                      Defendant



                                             ORDER


       This matter is before the court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's plea of guilty

to specified charges in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding

conducted by the Magistrate Judge with the consent of the Defendant and counsel. It appearing

that the Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant

was given notice of the right to file specific objections to the report and recommendation that has

been submitted as a result of the proceeding; and it further appearing that no objection has been


asserted within the prescribed time period, it is hereby


       ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED

and the Defendant is found guilty of Count One of the Indictment.




                                                      Robert E. Payne
                                                      Senior United States District Judge



 Dated: January 30,        2008
